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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                    CASE NO.: 4:08cr29-SPM

MELISSA FRANCES WILLIAMS,

           Defendant.
____________________________/


                       ACCEPTANCE OF GUILTY PLEA

      Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the defendant, MELISSA FRANCES WILLIAMS, to

Counts One and Eighteen of the indictment is hereby ACCEPTED. All parties

shall appear before this Court for sentencing as directed.

      DONE AND ORDERED this 22nd day of September, 2008.



                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
